     Case 2:17-cv-07223-JWH-AS Document 157 Filed 04/26/18 Page 1 of 2 Page ID #:3806



 1
 2
                                                                         JS-6
 3
 4
 5
 6
 7
 8                         UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10                                                Case No.: 2:17-cv-07223-SVW-AS
     PAINTERS AND ALLIED TRADES
11   DISTRICT COUNCIL 82 HEALTH CARE              Hon. Stephen V. Wilson
     FUND, a third-party healthcare payor fund,
12   ANNIE M. SNYDER, a California
     consumer, RICKEY D. ROSE, a Missouri         ORDER ENTERING FINAL
13   consumer, JOHN CARDARELLI, a New             JUDGMENT
     Jersey consumer, MARLYON K.
14   BUCKNER, a Florida consumer, and
     SYLVIE BIGORD, a Massachusetts
15   consumer, on behalf of themselves and ALL
     others similarly situated,
16
17                     Plaintiffs,
18          vs.
19 TAKEDA PHARMACEUTICAL
   COMPANY LIMITED, a Japanese
20 corporation; TAKEDA
   PHARMACEUTICALS USA, Inc., an
21 Illinois corporation (fka TAKEDA
   PHARMACEUTICALS NORTH
22 AMERICA, Inc.); and ELI LILLY &
   COMPANY, an Indiana corporation,
23
                       Defendants.
24
25
26
27
28

                                          1
                   ORDER ENTERING FINAL JUDGMENT; 17-cv-07223-SVW-AS
Case 2:17-cv-07223-JWH-AS Document 157 Filed 04/26/18 Page 2 of 2 Page ID #:3807
